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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 18-60839-CIV-ALTONAGA/Seltzer

  CERTAIN UNDERWRITERS AT LLOYD’S,
  LONDON, SYNDICATES 2623/623,

         Plaintiff,
  v.

  SOLUTIONS RECOVERY CENTER,
  LLC, et al.,

        Defendants.
  _________________________________________/

                                              ORDER

         THIS CAUSE came before the Court on Defendants’ Motion to File Amended

  Counterclaim and Complaint for Declaratory Judgment [ECF No. 31]. As the Motion was timely

  filed in accord with the Order dated May 22, 2018 [ECF No. 22], and “leave to amend is to be

  freely given, absent substantial reason to deny the motion,” Geary v. City of Snellville, 205 F.

  App’x 761, 763 (11th Cir. 2006), it is hereby

         ORDERED AND ADJUDGED that the Motion [ECF No. 31] is GRANTED.

  Defendants shall file their Answer and Amended Counterclaim and Complaint for Declaratory

  Judgment [ECF No. 31-1] as a separate docket entry by July 6, 2018.

         DONE AND ORDERED in Miami, Florida, this 5th day of July, 2018.



                                                        _________________________________
                                                        CECILIA M. ALTONAGA
                                                        UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
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